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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                            CASE NO. 18-25203-CIV-GOODMAN
                           [CONSOLIDATED CONSENT CASES]

  MORRIS WILSON, et al.,

         Plaintiffs,

  v.

  NCL BAHAMAS LTD.,

        Defendant.
  ___________________________/

                       ORDER ON DEFENDANT’S MOTION TO DISMISS

         Defendant NCL Bahamas Ltd., a cruise ship operator doing business as

  Norwegian Cruise Line, moves to dismiss a consolidated amended complaint filed by a

  group of more than 175 plaintiffs who were on the Norwegian Breakaway in December

  2017 when it encountered what Plaintiffs describe as “a massive weather event (Bomb

  Cyclone),” but what Norwegian classifies as “a winter weather system.” [ECF Nos. 18, p.

  9; 19, p. 1]. Plaintiffs alleged physical and emotional injuries as a result of being “subjected

  to hours of terror as the gigantic cruise ship was battered by hurricane force winds and

  more than 30 foot waves.” [ECF No. 18, p. 9]. Norwegian views the damages sought as

  “allege[d] psychological injuries in the form of emotional distress. . . .” [ECF No. 19, p. 1].

         For the reasons outlined below, the Undersigned grants Norwegian’s motion to
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     dismiss, albeit without prejudice, and gives Plaintiffs 14 days to file a second amended

     complaint designed to clean up the inconsistent allegations and to more-clearly frame the

     issues.

I.             Factual Allegations

               The amended complaint alleges that Norwegian knowingly and intentionally

     decided to sail the Breakaway, carrying more than 4,000 passengers, directly into the path

     of a massive bomb cyclone. It contends that weather forecasters from both the United

     States government and the private sector were, on January 2, 2018, predicting a storm of

     historic proportions involving hurricane-force winds.

               The amended complaint alleges that Norwegian did not inform its passengers of

     the severity of the storm. It says that it was not until the day after the ship left Great

     Stirrup Cay in the Bahamas, when “large waves were rocking the cruise ship, causing

     passengers and crewmembers to become seasick,” that Norwegian finally gave a

     warning. [ECF No. 18, p. 12]. But, even then, the passengers were told only that the ship

     was in rough seas, and they had no idea they were being subjected to a historic winter

     weather event with hurricane-force winds.

               By late evening on January 3, 2018, the amended complaint alleges, “the hurricane-

     force winds and rough seas were battering the vessel so severely that passengers were

     unable to stand in their staterooms and were being thrown out of their beds; causing

     various injuries to passengers, including Plaintiffs.” [ECF No. 18, p. 12].



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        The amended complaint paints a frightening picture of what passengers

  experienced:

        While confined to their staterooms and small public spaces in the interior,
        passengers were holding onto whatever they could find in order to keep
        from falling due to the weather event. Furniture was overturned and tossed
        throughout the vessel; broken glass littered all levels of the vessel; elevators
        became inoperable; unsanitary water overflowed out of shower drains and
        into passengers’ cabin; waves crashed through open and/or shattered
        balcony doors; water rushed in through numerous other areas of the vessel;
        and pipes consisting of raw water burst on the vessel, causing flooding
        throughout multiple decks of the vessel.

        At times the vessel listed (tilted) as far as 45 degrees and passengers were
        injured. Waves up to 30 feet were crashing along the side of the Norwegian
        Breakaway as the ship listed to either side.

        Passengers scrambled to search for life jackets or floatation devices, but
        were unable to do so. There were numerous families with small children
        aboard the vessel and parents did their best to protect themselves and their
        young children who were crying uncontrollably and screaming in sheer
        terror.

        Hundreds of passengers, including Plaintiffs, were subjected to hours of
        terror, flooding of raw water, unsanitary conditions, lack of ventilation of
        fumes, and trauma as a result of the cruise traveling through hurricane force
        winds – all of which could have been easily avoided if NCL stayed in Great
        Stirrup Cay until the severe winter storm passed or rerouted the ship so
        that the passengers were not exposed to the dangerous weather conditions.
        As a result of NCL’s negligence, passengers sustained physical and
        emotional injuries.

  [ECF No. 18, pp. 12–14].



        The amended complaint also includes photographs, weather forecasts, and maps

  into the pleading itself (i.e., pasted into the document, as opposed to being attached as



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      exhibits).

             Asserting claims for negligence (Count I) and negligent infliction of emotional

      distress (Count II), the amended complaint seeks both compensatory and punitive

      damages.

II.          Applicable Legal Standards

             When considering a motion to dismiss for failure to state a claim under Federal

      Rule of Civil Procedure 12(b)(6), the Court must accept all the complaint’s allegations as

      true, construing them in the light most favorable to the plaintiff. Pielage v. McConnell, 516

      F.3d 1282, 1284 (11th Cir. 2008). A pleading need only contain “a short and plain

      statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

             “[T]he pleading standard Rule 8 announces does not require detailed factual

      allegations, but it demands more than an unadorned, the-defendant-has-unlawfully-

      harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). A

      plaintiff must articulate “enough facts to state a claim to relief that is plausible on its face.”

      Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

             “A claim has facial plausibility when the plaintiff pleads factual content that allows

      the court to draw the reasonable inference that the defendant is liable for the misconduct

      alleged.” Iqbal, 556 U.S. at 678. “The plausibility standard is not akin to a ‘probability

      requirement,’ but it asks for more than a sheer possibility that a defendant has acted




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       unlawfully.” Id. “Threadbare recitals of the elements of a cause of action, supported by

       mere conclusory statements, do not suffice.” Id.

              Thus, a pleading that offers mere “labels and conclusions” or “a formulaic

       recitation of the elements of a cause of action” will not survive dismissal. See Twombly,

       550 U.S. at 555. “Rule 8 marks a notable and generous departure from the hyper-technical,

       code-pleading regime of a prior era, but it does not unlock the doors of discovery for a

       plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at 679.

III.          Analysis

              A.     Shotgun Pleading Argument

              Norwegian argues that the amended complaint is an impermissible shotgun

       pleading because it is based on nearly 30 separate and discrete alleged failures on

       Norwegian’s part even though “[m]any of them are not duties owed at all as a matter of

       law.” [ECF No. 19, p. 2]. According to Norwegian, “it appears Plaintiffs tried to come up

       with any alleged duty that they could think of that Norwegian might owe them.” [ECF

       No. 19, p. 4]. It contends that “Plaintiffs’ negligence claims are predicated on allegations

       of non-existent duties, meaningless duties, unexplained duties, and conflicting ones.”

       [ECF No. 19, p. 4].

              Norwegian concedes that some courts do not dismiss maritime negligence claims

       in “line-item” fashion,1 but it argues that the “better course is to dismiss since Plaintiffs’


       1
              See McLaren v. Celebrity Cruises, Inc., No. 11-23924-CIV, 2012 WL 1792632, at *5 (S.D.


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  negligence claims have so many problems.” [ECF No. 19, p. 4]. The Undersigned agrees

  that, in a vacuum, it is not necessary to strike specific purported duties from a negligence

  claim if the facts alleged generate a viable claim for breach of a duty of care. However,

  the amended complaint suffers from a more-basic flaw: it inconsistently alleges the

  applicable standard of care.

         In paragraph 148, Plaintiffs allege that Norwegian owed them a duty of

  “reasonable care under the circumstances.” [ECF No. 18, p. 14 (emphasis added)].

         So far, so good.

         But later, in the very same paragraph, Plaintiffs allege that “a heightened degree

  of care is required where the risk-creating condition is peculiar to the maritime context.”

  [ECF No. 18, p. 15 (emphasis added)]. The amended complaint then alleges, in that same

  paragraph, that “[u]nder this heightened/enhanced duty of care to passengers on vessels

  navigating through hurricane force winds and on rough sea conditions, Defendant NCL

  breached its duty to keep passengers, including Plaintiffs, safe from the perilous

  conditions.” [ECF No. 18, p. 15 (emphasis added)].

         But after making these heightened-duty allegations, Plaintiffs then allege, in the

  very next paragraph (paragraph 149), that “[i]t was the duty of Defendant NCL to provide

  Plaintiffs with reasonable care under the circumstances.” [ECF No. 18, p. 15 (emphasis



  Fla. May 16, 2012) (“[T]he Court will not strike alleged duties from the Complaint[] in
  line-item fashion.”) (quoting Holguin v. Celebrity Cruises, Inc., No. 10-20215, 2010 WL
  1837808, at *1 (S.D. Fla. May 4, 2010)).


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  added)].

           These allegations about the duty of care are indisputably inconsistent.

           Concerning the “shotgun pleading” rule -- a common defense challenge and one

  that Norwegian is pursuing here -- the Eleventh Circuit provided a comprehensive guide

  to the applicable rules in Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313 (11th

  Cir. 2015). Rule 8(a)(2) requires a complaint to include “a short and plain statement of the

  claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). And Rule 10(b)

  further provides that “[a] party must state its claims or defenses in numbered paragraphs,

  each limited as far as practicable to a single set of circumstances.” Fed. R. Civ. P. 10(b).

  Recognizing that courts sometimes used the term “shotgun pleading” to simply mean

  “poorly drafted complaint,” the Weiland Court identified four types of shotgun pleadings.

  Weiland, 792 F.3d at 1321.

           The “unifying characteristic” of all categories of impermissible shotgun pleadings

  is “is that they fail to one degree or another, and in one way or another, to give the

  defendants adequate notice of the claims against them and the grounds upon which each

  claim rests.” Id. at 1323.

           The inconsistency outlined above concerning different duties does not fit neatly

  into the four typical types of impermissible shotgun pleadings identified by our appellate

  court:

           Though the groupings cannot be too finely drawn, we have identified four
           rough types or categories of shotgun pleadings. The most common type—


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         by a long shot—is a complaint containing multiple counts where each count
         adopts the allegations of all preceding counts, causing each successive
         count to carry all that came before and the last count to be a combination of
         the entire complaint. The next most common type, at least as far as our
         published opinions on the subject reflect, is a complaint that does not
         commit the mortal sin of re-alleging all preceding counts but is guilty of the
         venial sin of being replete with conclusory, vague, and immaterial facts not
         obviously connected to any particular cause of action. The third type
         of shotgun pleading is one that commits the sin of not separating into a
         different count each cause of action or claim for relief. Fourth, and finally,
         there is the relatively rare sin of asserting multiple claims against multiple
         defendants without specifying which of the defendants are responsible for
         which acts or omissions, or which of the defendants the claim is brought
         against.

    Id. at 1321–23.

         Nevertheless, the amended complaint undoubtedly asserts differing duties, which

  generates confusion. Moreover, it alleges a purported standard of care, or duty, not

  recognized in our circuit: Plaintiffs’ claim that a heightened standard of care somehow

  supersedes the reasonable standard of care in maritime negligence cases when the

  weather and seas are rough. Not only has the Eleventh Circuit not adopted the

  heightened standard of care theory, but it has actually and affirmatively rejected it.

  Kressly v. Oceania Cruises, Inc., 718 F. App’x 870, 872 (11th Cir. 2017) (citing Sorrels v. NCL

  (Bahamas) Ltd., 796 F.3d 1275, 1279 (11th Cir. 2015)) (emphasis added) (affirming

  summary judgment for defendant cruise line operator and rejecting reliance on Catalina

  Cruises v. Luna, 137 F.3d 1442 (9th Cir. 1998) -- because the court there “merely clarified

  that ‘where the risk is great because of high seas, an increased amount of care and

  precaution is reasonable’”).


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         In a perhaps ironic twist, the law firm representing Plaintiffs in this case also

  represented the plaintiffs in both Sorrels and Kressly. And, in a further illustration of

  coincidence, Norwegian was also the defendant in Sorrels.

         In their response to the dismissal motion, Plaintiffs do not discuss Kressly or Sorrels.

  Instead, they say they “properly alleged the correct standard of care, i.e., that Defendant

  NCL owed Plaintiffs a duty of reasonable care under the circumstances.” [ECF No. 23, p. 10

  (emphasis added)]. But they then argue that they are entitled to “plead in the alternative”

  by alleging that Norwegian “owed a heightened duty of care due to it’s [sic] intentional

  and knowing decision to sail the Norwegian Breakaway through a Bomb Cyclone with

  hurricane force winds and over 30 [foot] waves, which is clearly a dangerous condition

  that is peculiar to the maritime context.” [ECF No. 23, p. 10 (emphasis added)].

         To be sure, there are times when a plaintiff is permitted to plead in the alternative.

  But asserting a non-existent claim is not one of those instances. Given that the applicable

  standard of care here is a ship owner’s duty to provide reasonable care to passengers in

  navigable waters, a theory (alternative or not) urging the rejected heightened care

  argument is incorrect. Norwegian owes a duty to provide reasonable care “under the

  circumstances.” Kressly, 718 F. App’x at 872. To the extent that the circumstances involve

  a so-called bomb cyclone at sea, then the issue is whether Norwegian met the reasonable

  care standard for a bomb cyclone.

         Regardless of whether the inconsistent and incorrect heightened-duty theory is



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  officially an impermissible “shotgun pleading” or a garden-variety pleading flaw that

  does not meet the four categories of improper shotgun pleadings, the key point is that it

  is legally incorrect, inconsistent, and inherently confusing. Therefore, the amended

  complaint must be dismissed, with leave to refile, so that there is clarity about the

  applicable standard of care.

         Plaintiffs may, of course, allege in their second amended complaint that the severe

  weather conditions affected what Norwegian was required to do to not breach its duty to

  provide reasonable care. But what they cannot do in the next version of the complaint is

  to again allege a legal theory that is not viable in this circuit.

         B.     Punitive Damages

         Norwegian’s dismissal motion argues that Plaintiffs “cannot show” the intentional

  misconduct that must be proved to be entitled to punitive damages. [ECF No. 19, p. 6]. It

  argues that cruise passengers can recover punitive damages only “in cases of exceptional

  circumstances or intentional misconduct, which are not found here” in this lawsuit for

  negligence and negligent infliction of emotional distress. [ECF No. 19, p. 7].

         This argument does not persuade the Undersigned for two reasons.

         First, “a plaintiff may recover punitive damages under general maritime law,

  consistent with the common-law rule, where the plaintiff’s injury was due to the

  defendant’s wanton, willful, or outrageous conduct.” Lobegeiger v. Celebrity Cruises, Inc.,

  No. 11-21620-CIV, 2011 WL 3703329, at *7 (S.D. Fla. Aug. 23, 2011) (internal quotations



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  and citation omitted); see also Jackson-Davis v. Carnival Corp., No. 17-24089-CIV, 2018 WL

  1468665, at *5 (S.D. Fla. Mar. 23, 2018) (same); Fleischer v. Carnival Corp., No. 15-24531-

  CIV, 2016 WL 1156750, at *1 (S.D. Fla. Mar. 17, 2016) (same); Doe v. Royal Caribbean Cruises,

  Ltd., No. 11-23323-CIV, 2012 WL 920675, at *4 (S.D. Fla. Mar. 19, 2012) (same). Thus, “[t]he

  plaintiff is no longer required to prove intentional misconduct.” Doe, 2012 WL 920675, at

  *4.

         Second, the alleged facts are sufficient at this stage to plausibly lead to entitlement

  for punitive damages, notwithstanding that Plaintiffs did not use the terms “willful,”

  “wanton,” or “outrageous” in the amended complaint. For example, Plaintiffs allege in

  paragraph 147 that Norwegian “knowingly, intentionally and recklessly decided to sail

  directly into the path of a hurricane force storm, thereby placing the lives at risk of each

  and every one of the passengers and crew aboard that ship.” [ECF No. 18, p. 14]. And in

  paragraph 155, Plaintiffs allege “negligence, gross negligence and/or intentional

  conduct.” [ECF No. 18, p. 19]. Under the circumstances, the Undersigned does not believe

  dismissal is warranted.

         However, as long as Plaintiffs are going to be refiling their complaint to address

  the proper standard of care, they might as well enhance, if factually possible, the

  allegations relevant to a claim for punitive damages.

         C.     Photographs

         Because Plaintiffs are going to be refiling their complaint, they should omit



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      photographs, maps, diagrams, or other graphic material from the body of the complaint.

      If they wish to reference them, then they may attach them to the complaint as exhibits,

      rather than include them in the complaint as factual allegations for which Norwegian

      would need to respond. See Stacey v. Peoria Cty., Ill., No. 13-CV-1051, 2013 WL 3279997, at

      *8 (C.D. Ill. June 27, 2013) (denying defense motion to strike photographs attached to the

      complaint and noting that the photographs are exhibits, not evidence).

             The preferred practice would be to not insert the materials in the complaint and

      also to refrain from attaching them as exhibits. But if Plaintiffs decide to submit these

      materials again as exhibits, then they should understand that the materials might not be

      of help in determining whether the next version of the complaint passes muster -- because

      those types of exhibits might not be deemed the type of documentary evidence or

      “written instruments” that Rule 10(c)2 deems as being incorporated into, and made a part

      of, the complaint. Perkins v. Silverstein, 939 F.2d 463, 467 (7th Cir. 1991) (explaining that

      Plaintiffs incorrectly viewed Rule 10 as “a license to plead their case by exhibit” by

      attaching “an assortment of letters, newspaper articles, commentaries, cartoons and

      miscellaneous other exhibits”).

IV.          Conclusion

             The Undersigned grants Norwegian’s motion to dismiss without prejudice and




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            Rule 10(c) provides, in pertinent part, that “[a] copy of a written instrument that is
      an exhibit to a pleading is part of the pleading for all purposes.” Fed. R. Civ. P. 10(c).


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  give Plaintiffs fourteen 14 days in which to file a second amended complaint.

        DONE AND ORDERED in Chambers, in Miami, Florida, on May 14, 2019.




  Copies furnished to:
  All counsel of record




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